172 F.3d 884
    Warren Kobatake, Pleasonton Corp., a Hawaii Corporationv.E.I. DuPont de Nemours and Company, Alston &amp; Bird; Ellis W.Lay, d/b/a Wintergreen Nurseries, Prince Nurseries, Inc., aNorth Carolina Corporation v. E.I. DuPont de Nemours andCompany, a Delaware Corporation, Alston &amp; Bird
    NOS. 97-8899, 97-8914
    United States Court of Appeals,Eleventh Circuit.
    January 29, 1999
    N.D.Ga., 162 F.3d 619
    
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